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Rq C£j N THE UNITED STATES DISTRICT COURT
F

OR THE EASTERN DIS'I`RICT ()F PENNSYLVANIA

 

HAN MIN LEE _ CIVIL ACTION
l 10 Tenafly Road :
Tenafly, NJ 07670 f NO.
Plaintifi",

v.
1333 ENTERPRISB, iNc. Z'/
1333 West Cheltenham Avcnuc, Suite 102 ‘ 6 j j g
Elkins Park, PA 1902'/` 1

And
YONG S. CHOI
22 Southwood Drive
Cherry Hill, NJ 08003

Del"endants.

 

COMPLAINT AND DEMAND FOR TRIAL BY JURY

Plaintiff, Han Min Lee brings the Within action against Defendants, 1333 Enterprise, Inc.

(“1333 Enterprise”) and Yong S. Choi (“Choi”), and alleges as follows:
NATURE OF THE ACTION

1. This is an action for violations of the Lanham Tradcmark Act 15 U.S.C. §§ 1051 et
seq, relating to Defendants’ impermissible use of trademarks belonging to Plaintiff and Breach of
Contract relating to the parties’ relationship in a restaurant business located in Montgomery
County, Pennsylvania.

PARTIES
2. Plaintii‘"f, Han Min Lee, is an individual residing at 1 10 TenaHy Road, Tenafly, NeW

Jcrsey 07670.

 

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3. Defendant, 1333 Enterprise, is a corporation organized and existing under the laws
of the Commonwealth of Pennsylvania, having its principai place of business at 1333 W.
Cheltenham Ave, Suite 102, Eikins Park, Pcnnsyivania 19027.

4. Defendant, Choi, is an individual residing at 22 Southwood Drivc, Cherry Hill,
NeW Jersey 08003.

JURISDICTION

5. This action arises under the Lanham Tradernark Act 15 U.S.C. §§ 1051 et seq. (the
"Lanharn Act"). According1y, this Court has federal question jurisdiction over the Subject matter
ofthis action pursuant to 15 U.S.C. § 1121(a) and 28 U.S.C. §§ 1338(a), (b).

6. Subject matter jurisdiction over Plaintiff’s related state and common law claims is
proper pursuant to 28 U.S.C. §§ 1338 and 1367.

7. Venue in this district is proper under 28 U.S.C. § 1391(b).

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8. 1333 Enterprise was formed for the purpose of owning and operating a Korean
restaurant to be located in a building at 1333 W Cheitenham Ave, Ell<ins Park, Pennsylvania
(“Restaurant”).

9. Thc building is owned by Defendant Choi and/or his entity More Shopping Centcr
LP.

10. Plaintit`f developed the name “DUBU Authentic Korean Cuisine” and associated
logos based on the name of a Korean tofu dish (“Tradernarks”) for the purpose of using at the
Restaurant and other restaurants Which he Wouid own in the future

11. Plaintiff hired a lawyer to register the Trademarks. The registrations Were filed on

his behalf on February 8, 2018, With indications of first use on March 29, 2015 and in commerce

 

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on April 29, 2015. (True and correct copies of the Trademarks are attached hereto collectively as
Exhibit “A”.)

12. The Restaurant was registered with the state with the fictitious name DUBU Korean
Restaurant on February 20, 2015.

13. Piaintiff be1ieved that he and Defendant Choi were to be partners in the Restaurant
at 1333 W. Cheltenham Avenue, and it was agreed upon by Plaintiff and Defendant Choi that
Plaintiff would be entitled to 40% of the net profits derived from the operation of the restaurant

14. Plaintiff entered into a Management Agreement with 1333 Enterprise to supervise
and direct the general operation of the Restaurant. A true and correct copy of the Restaurant
Management Agreement (“RMA”) is attached hereto as Exhibit “B”.

15. Pursuant to the RMA, Plaintiff was entitled to compensation as Manager in an
amount equal to 30% of the “Net Profits” derived from the Restaurant.

16. The Restaurant opened on April 29, 2015 , serving authentic Korean cuisine.

17. Beginning in 1\/1ay 2015, Plaintiff Was paid a salary of $1,000 per weel<.

18. Plaintiff was never compensated for his percentage of profits from the Restaurant,
either the 40% pursuant to his partnership agreement with Defendant Choi or the 30% set forth in
the RMA.

19. Fuither, upon information and beiief, the Net Protits of the Restaurant were
artificially deflated as a resuit of Defendants Choi’s and/or 1333 Enterprises paying excessive rent
(far in excess of fair market value) to Choi’s entity, More Shopping Center LP.

20. Pursuant to the RMA, Plaintiff was entitled to 90 days’ notice of termination
(RMA at 1[5). However, on or about Septernber 30, 2018, Plaintiff was terminated without notice

and told to stay away from the restaurant

 

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21. Plaintiff was neither paid his salary of $l,000 for the 90 day termination period
(which is equal to approximately $5,625) nor Was he paid any Net Profrts for any time throughout
the parties’ relationship (2015 through Deccmber 2018).

22. Further, although Plaintii“f is the owner of the Trademarks, Defendants 1333
Enterprise and Choi continue to use them at and for the Restaurant. Exhibit “C” hereto are images
of the Trademarks in use at or for the Restaurant, in particular, units website, front door, building
and other promotional items.

23. On or about November 30, 2018, demand was made upon Defendants Choi and
1333 Enterprise to cease and desist using the '1`rademarks and for an accounting of profits earned
from the improper and unlawful use of the Trademarks following Plaintiff’ s termination and
revocation of his permission to use them.

24. Defendants Choi and 1333 Enterprise continue to impermissibly use the
Trademarks.

C()UNT I _ Lanham Act Violations

25. Plaintiff hereby incorporates by reference all preceding paragraphs as if fully set
forth herein.

26. Plaintiff has valid Tradernarks as demonstrated by the certificates of registration
attached hereto as Exhibit “A”.

27. Defendants are using the marks in commerce in connection with the operation of
the Restaurant, including but not limited to using the marks in connection with the Restaurant’s
website, storefront, and promotional items.

28. Defendants’ use of the contested mark is likely to cause confusion as Defendants

are using the identical Trademarks registered by Plaintiff.

 

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29. Because Defendants continue to use Plaintiff’ s Trademarks, Plaintiff is prohibited
from using the Trademarks himself as he intended because any restaurant business operated by
Plaintiff would likely be confused with the Restaurant.

30. By reason of the foregoing, Plaintiff hereby asserts a claim against Defendants for
injunctive and monetary relief pursuant to Section 43(a) of the Lanharn Act, 15 U.S.C. § 1114,
with regard to Defendants’ knowing and willful use of the Trademarks in commerce without
Plaintiff’s consent.

Wl-IEREFORE, Plaintiff` seeks relief against Defendants Choi and 1333 Enterprises as
follows:

A. Defendants, their agents, servants, employees, officers, successors and assigns, and
all persons acting in concert with them, be restrained and enjoined from use of the Trademarks or

any colorable variation or imitation thereof;

B. Defendants disgorge profits and pay to Plaintiff damages in an amount to be
determined
C. Plaintiff be awarded his costs, attorneys fees and such other and further relief as the

Court deems to be just and proper.
COUNT II - Breach of Restaurant Management Agreement (Plaintiff v. 1333 Enterprises)
31. Plaintiff hereby incorporates by reference ali preceding paragraphs as if fully set
forth herein.
32. Plaintiff entered into the RMA with Defendant 1333 Enterprises, whereby Plaintiff
was to be compensated with 30% of the Net Profits.

33. Plaintiff never received his Share ofNet Proflts in breach of the RMA.

 

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34. Defendants Choi and/or 1333 Enterprises additionally paid rent to the building
owned by Choi and/or his entity in excess of fair market value, thereby artificially reducing Net
Profits.

35. 'l`he RMA additionally required 90 notice of termination Plaintiff was terminated
without 90 days’ notice, and has not been compensated for the 90 day period.

36. As a result thereof, 1333 Enterprises breached the RMA, causing Plaintiff to suffer
damages.

WHEREFORE, Plaintiff seeks an award of compensatory damages against Defendant,
1333 Enterprises, lnc., in an amount in excess of $150,000 plus interest and costs of suit.

COUNT III - Breach of Partnership Agreement {Plaintiff v. Choi)

37. Plaintiff hereby incorporates by reference all preceding paragraphs as if fully set
forth herein.

38. Plaintiff and Defendant Choi entered into an oral partnership agreement pursuant
to which Plaintiff would receive 40% of the net profits earned by the Restaurant.

39. Plaintiff never received his share of Net Proi'its for the entire period of the parties’
business relationship

40. Although Plaintiff was managing the Restaurant, all receipts were deposited into
an account solely in the name and under the control of Defendant 1333 Enteiprises. All bills were
sent to the Restaurant and paid by Plaintiff from his bank account Defendant 1333 Enterprises
reimbursed Plaintiff for all bills he paid.

41. Defendants Choi and/or 1333 Enterprises additionally paid rent to the building
owned by Choi and/or his entity in excess of fair market value, thereby artificially lowering the

restaurant’s Net Profits.

 

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42. As a result, Defendant Choi breached his agreement with Plaintiff causing him to

suffer damages

WHEREFORE, Plaintiff seeks an award of compensatory damages against Defendant,

Choi in an amount in excess of $150,000, plus interest and costs of suit.

 

By:

 

lS/‘teven E. Angstr“dieli, Esquire (#373 9)
Amy R. Brandt, Esquire (#65739)

The Widener Building, Suite 500
1339 Chestnut Street

Philadelphia, PA 19107

(215) 665-8181

(215) 665-8464 Fax
sangstreich@weirpartners.com

abrandt@weirpartners.com
Dated: January 14, 2019

 

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EXHIBIT “A”

 

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Reg_ N{)_ 59574,574 licc, l~lanmin (UNITED ST/-\TES lNDIVlDUAl_-), DBA Dll 1311 Reslanrant
1333 W. Cliellenham Avc. Suite 102

Registered Oc¢_ 923 2018 elkins ran<, reNNsYL\/ANJA 19027

Int_ CL: 43 CLAbS 432 Restaurant and bar scrvices, mclndmg restaurant carryoul services

, FIRST USE3-29-2015; lN COMMERCE 4~29"2015

Service Mark
_ ‘ t , Tlle mark consists ol` the word "DUBU" appearing above the words "AUTI-IENT|C

Pl‘lllclpal Rengt€l' KOREAN CUlSlNE" and an image olTa millstone.

No claim is made to tire exclusive right to use the following apart from the mark as shown:
"DU Bl_l" AND "AUTHENTLC KOREAN CUlSENE"

The Englisli translation ol"'DUBU" in the mark is "lol`n".

SER. NO. 87-789,5()4, FlLBD 02-08~20|8

 

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Director of tire Uniled States
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United States Patent and Trademark Office lea

 

Reg_ Ng_ 555'74’571 l,ee, Hanmin {UNITED S'l`A`I`ES lNDlVEDUAL), DBA DUBU Restauranl
` 1333 W. Clieltenliam Ave. Suile 102

Registel-ed Oct_ 02’ 2018 plains Pm-i<, i>azN'nsYL\/Ann\ 19027

lnt_ Cl‘: 43 CLASS 43: Reslauram and bar services, including restaurant carryout services
, FERST USE 3~29»2015; lN COMMERCE 4-2‘)-20l5
Servlce Mark

The mark consists ol` an image ol` a millsfone appearing above the words "DUBL|" and
Prrncipal Regrster - "au'rnr.nr:c roarAN cnisina" in nw circle

No claim is made to the exclusive right to usc thc following apart from the mark as sliown:
"DUBU" AND "AllTllENTlC KOREAN CUlSlN E"

T|\e English translation of"'DUBU" in tile mark is "tol`u".

SER` NO. 87-?89,530, FILED 02-08~2018

 

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[)irector of the Unitecl States
Patent and 'I`rademark Office

 

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EXHIBIT “B”

 

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RESTAURANT MANAGEMENT AGREEMENT

MANAGEMENT AGREEMENT, made as of the day of
20 1… yandM between 1333 EN'I`ERPRISE, INC., a Pennsylvania corporation ("Ovvner") and

/'1»l M,n f erisa <"Manager")

 

WITNESSETH;

WHEREAS, Owner is a corporation organized under the laws of the Comrnonwealth of
Pennsylvania and its primarily purpose is to own and operate a retail food establishment at 1333
Old York Road, Elkins Park, Pennsylvania, tentatively named “Dubu” (the “Restaurant”); and

WHEREAS, l\/lanager is a duly organized under the
laws of __ primarily for the purpose of managing retail
food establishments; and

WHEREAS, Manager, through its officers and employees, is knowledgeable,
experienced and proficient in all matters relating to the management of retail food
establishments; and

WHEREAS, the Owner desires to utilize the services of Manager on a full-time basis in
connection with the management of its Restaurant and Manager desires to render such services
upon the terms and conditions hereinafter set forth.

NOW, THEREFORE, in consideration of the covenants and premises contained herein
and intending to be legally bound, the parties hereto agree as follows:

1. Employment. The Owner hereby agrees to utilize the services of Manager and
Manager agrees to render services to the Owner pursuant to the terms of this Agreernent as
hereinafter set forth in connection with the operation of the Restaurant. Manager is retained by
the Owner only for the purposes and to the extent set forth in this Agreement, and its relationship
to the 0wner during the term of this Agreement shall be that of an independent contractor The
officers and employees of Manager shall not be considered employees of the Owner for any

purpose

2. Manager's Duties. Manager shall perform the following duties: supervise and
direct the general operation of the Restaurant; operate the Restaurant efficiently and with proper
economy', deyelop policies with respect to the installation of new features to the extent that the
financial obligations and resources of the Owner permit; develop policies with respect to
publicity for the purpose of creating the greatest possible net income from the Restaurant;
stimulate the general business of the Res`taurant; employ such assistants and other appropriate or
otherwise required and necessary staff, chefs, employees, agents, clerks and servants at the
Restaurant as may be required to maintain a standard and quality of management and operation
at a level acceptable to the Owner and in compliance With all laws, rules and ordinances
(including without limitation all health and safety codes); keep the Restaurant and all furniture,
furnishings and other equipment therein and appurtenant thereto in repair; arrange for necessary

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replacements, improvements and changes in the Restaurant and in the furniture, furnishings and
other equipment therein subject to the Owner’s approval; supervise the placing of insurance on
the Restaurant and on all furniture, furnishings and equipment therein against all risks usually
covered in the case of similar properties and businesses, including, but without li_mitation, iire,
plate glass, workmen's compensation, dramshop liability, general iiability, and fidelity insurance
and all other usual insurance (which shall also cover any liability of Manager); maintain the
Restaurant in order to assure compliance with the requirement and other relevant criteria of all
licensing agencies having jurisdiction over the Restaurant and including without limitation, the
Pennsylvania Liquor Control Board; place at the disposal of the Owner its decorating, general
purchasing, supervising and accounting departments; maintain the Restaurant liquor license in
good standing and free of lien and comply with all laws applicable to same and assure no
underage drinking of alcohol is permitted or occurs at the Restaurant; and perform all other acts
necessary or desirable in the operation of the Restaurant. Manager shall in no event be
responsible for or obligated to file any lawsuit or claim on behalf of Owner in order to recover
under or otherwise perfect any claim which Owner may have against a third party.

3. Con_si§_eration.

(a) As consideration for the performance of services by Manager during the
term of this Agreement, Manager shall be entitled to its compensation, which shall be paid to, or
credited to the account of, Manager, as hereinafter provided.

(i) Manager shall be entitled to incentive compensation in an amount
equal to 30.0% of the "Net Profits" derived from the Restaurant. The “Net Profits” shall be
determined on a quarterly basis by the Restaurant’s accountant retained by Owner, and shall
computed to account for all receipts, expenditures and depreciation .

(ii) For purposes hereof, “Net Profits” shall be calculated using the
[cash] basis of accounting and shall be calculated by subtracting from the gross receipts all
expenses and expenditures incurred in operating the Restaurant, including without limitation
depreciation of any capitalized costs, as more fully set forth on Exhibit A attached hereto and
incorporated herein.

4. Expenditures by Manager. With the Owner’s prior written approval, Manager
shall have power and authority to make all contracts and disbursements necessary to carry out
the duties conferred and imposed upon it by this Agreement, including, but not limited to, the
authority to pay for all expenses of management, operation, maintenance and insurance
`Manager may, with Owner’s prior written consent, in the name and at the expense of the
Restaurant, institute any legal or equitable action or proceeding for the collection of charges
and/or services or other income of the Restaurant. The Staff requirements listed on Exhibit B
hereof shall be deemed to be the employees of Manager and not of Owner for all purposes under
this Agreement. Manager agrees to engage the services of a General Manager whose salary and
related employee overhead shall be paid for solely by Manager.

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(a) The term of this Agreernent shall be two (2)_years from the opening date
of the Restaurant; provided, however, that either party may terminate this Agreement at any time
by giving written notice to the other party of its intention to terminate the Agreernent no less than
ninety (90) days prior to the date of termination; provided, if the l\/[anager shall be the party
terminating this Agreernent, the Manager shall pay to Owner at the time of giving Owner its
notice of termination, the sum of $ to compensate the Owner for its cost to replace
Manager and likely loss of business, and not as a penalty (the “Terniination Payment”). ln the
event this Agreernent is terminated prior to the expiration of the two (2) year initial term, the Net
Profits for purposes of determining the Manager’s compensation to which Manager is entitled
shall be calculated as of the date of termination

(b) ln addition, the Owner shall have the right to terminate the Manager for
cause immediately upon giving written notice to the Manager. For purposes hereof, “for cause”
shall mean (i) l\/lanager’s violation or breach of any terms of this Agreement, (ii) Manager’s
failure to provide the services required of Manager hereunder as determined by the Owner, (iii)
or Manager or its personnel engaging in conduct which the Owner determines has injured the
business or reputation of the Restaurant or which might so injure its business or reputation or so
affects Owner’s interest if Manager were to be retained-.

6. Assignmcnt. Except as specifically provided, this Agreement is personal to the
the l\/lanager and the l\/lanager may not assign nor delegate any of its rights or obligations
hereunder without obtaining the prior written consent of the Owner, which Owner may withhold
in its discretion Notwithstanding the foregoing, it is understood that Manager shall employ
hereunder personnel qualified to render the services required under this Agreement, and the
utilization of such personnel shall not be deemed to be an improper assignment by the l\/lanager.

?. Indemuification. Manager agrees to indemnify Owner from damages for injuries
to persons or property resulting front any cause whatsoever in, on, or about the Restaurant, in
connection with the operation of the Restaurant and, at its own cost and expense, to defend any
action or proceeding against Manager arising therefrom Notwithstanding the foregoing,
Manager shall not be required to indemnify Owner against damages suffered as a result of gross
negligence or willful misconduct on the part of Owner, or to the extent same are otherwise paid
pursuant to any insurance policy.

8. Confidential Information. Manager agrees to keep all proprietary or financial
information about the Restaurant and the Owner confidential and not to disclose such
information to others during the term of this Agreement or at any time thereafter. All of the
Restaurant’s customer lists, recipes, financial reports, records, and all other documents
concerning the Restaurant shall belong to, and remain, the exclusive property of the Owner.

9. Non-Solicitation. During the period that Manager is providing services to the
Owner continuing for a period of twenty-four (24) months thereafter, Manager agrees that he
shall not, directly or indirectly, solicit, encourage or entice:any employee or'independent
contractor of the Restaurant to leave the Restaurant.

10. No_n-Competition. Manager agrees that during Manager’s affiliation with the
Restaurant, and for twenty-four (24) months thereafter, Manager, nor any affiliate or party

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related to the Manager, shall not, directly or indirectly, own, operate, or have any interest in, any
restaurant which serves Korean cuisine within a fifty (50) mile radius of the Restaurant.

11. Acknowledgement. l\/lanager acknowledges that: (i) as a result of his
relationship with the Restaurant and Owner, Manager will possess the experience and
capabilities to own, manage, operate, control or participate in the ownership, management,
operation or control of, a competitor of the Restaurant; (ii) the provisions in Sections 8, 9 and _1_0
are reasonable provisions necessary to protect the Owner’s business; and (iii) Sections 8, 9 and
M are not intended to prevent Manager from competing

12. Notices. Any notice required or provided for in this Agreement shall be in
writing and shall be addressed as indicated below or to such other address as Owner or Manager
may specify hereafter in writing

_A,. To Owner: 1333 Enterprise, Inc.
Attn: Yong Choi
22 Southwood Drive
Cherry Hill, NJ 08003

T'o-Manag er:

Notices or other communications between the parties to this Agreement may be mailed by
United States registered or certified mail, return receipt requested, postage prepaid, and may be
deposited in a United States Post Office or a depository regularly maintained by the post office
Such notices may also be delivered by hand or by any other receipted method or means permitted
by law, including facsimile For purposes of this Agreement, notices shall be deemed to have
been "given" or "delivered" upon personal delivery thereof or by facsimile, and forty-eight (48)
hours after having been deposited in the United States mails as provided herein.

13. Governing Law. The validity, effect and performance of this Agreement shall be
governed by and interpreted and construed in accordance with the laws of the Comrnonwealth of
Pennsylvania.

14. Remedies.

(a) Upon a default under this Agreernent, the non-defaulting party shall have
all rights and remedies available at law or in equity, including injunctive rights and the right to
terminate this Agreement upon ten (10) days written not-ice.

(b) If Manager commits a breach, or threatens to commit a breach, of
Sections 8 9 or l_Q, the Owner shall have the right and remedy, without posting bond or other
security, to a restraining order and/or injunction by any court having equity jurisdiction, it being
acknowledged and agreed that any such breach or threatened breach will cause irreparable injury
to the Owner and that money damages will not provide an adequate remedy for the Owner.

 

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These rights and remedies shall be in addition to, and not in lieu of, any other rights and
remedies available to the Owner at law or in equity.

 

(c) If any of the covenants contained in Seetions 8 9 or M, or any part
thereof, is hereafter construed to be invalid or unenforceable the same shall not affect the
remainder of the covenants, which shall be given full effect, without regard to the invalid
portions.

(d) If any action, suit or other proceeding is brought to obtain a restraining
order and/or injunction referred to in §ection 14(a1 above, or to seek any other relief on the
Owner’s behalf, and if the Owner prevails in any such action, suit or other proceeding the
Owner shall be entitled to reimbursement from Manager for all expenses (including, without
limitation, reasonable attorneys’ fees and disbursements) incurred in connection with the
prosecution of such action.

15. Severabili§. The validity .or enforceability of any provision of this Agreement or
the application thereof to any person or circumstance shall not affect the other provisions hereof
and the Agreernent shall be construed in all respects and continue to bind the parties hereto as
though any invalid or unenforceable provision were omitted

16. _General.

(a) The masculine pronoun, wherever used herein, shall be deemed to mean
and include the feminine and the neuter where appropriate, and vice versa. The singular form,
wherever used herein, shall be deemed to mean and include the plural where appropriate, and
vice versa.

(b) The headings of paragraphs and subparagraphs in this Agreement are for
the convenience of the parties only; they form no part of this Agreement and shall not affect its
interpretation or construction

(c) This writing represents the final and entire agreement and understanding
of the parties with respect to the subject matter hereof and supersedes all prior or
contemporaneous representations, agreements, inducements or conditions, express or implied,
oral or written, and may not be altered, amended, modified or rescinded except by an instrument
in writing signed by the parties The waiver by any party hereto of a breach or violation of any
provision of this Agreement shall not operate or be construed as a waiver of any subsequent
breach or violation thereof

IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
executed and sealed as of the day and year first above written

OWNER:

1333 ENTERPRlSE, INC.

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EXHIBIT “C”

 

 

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'I`he _}S 44 civil cover sheet and the information contained herein neither re lace nor supplement the liking and service of pleadings or other papers as required by law, except as
provided by local rules of‘court. This forrn, approved by the Judicial Co erencc of the United States in Septcmber 1974, is required for the use of the Cierk of Court for the
purpose of initiating the civil docket shect. (SEE }NSTRUCTIONS ON NEXTPA GE OF HIIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS

Lee, Han Min 1333 Enterprlse, |nc. & Yong S. Choi

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is 44 (Rev. iia/in

 

(b) County of`Rcsidencc ofI"irst Listed Piain¢ifi` BBI‘QG|'}
(EXCEPTIN U.S. PLAINTH"F CASES)

County oi`Residence of`l"`irst Listccl Dcfendant umi`\i‘lOl`|lngI'Ht%l‘!
(iN U_s. PLA;NTIFF cAsEs oivr.n

NOTE! m LAND CONDEMNA'I`ION CASES, USE THE LOCAT]ON OF
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(C) At‘tomeys (Firm Narne, Address, and Tei`ephane Numbaij A!fDmeyS (1'f 1010wa

Steven E, Angstreieh, Esq.lAmy R. Brandt, Esq.
Weir & Partners LLP
1339 Chestnut St., Ste, 500, Ph'i|a., PA 19107; 215»665-8181

 

 

 

  

 

 

     

 

 

   

   

 

 

H. BASIS OF J!JRISDIC ION (.Pi'acemi "X"in O)ie Bi)xOm`y) HI. CITIZENSI'IIP OF PR]NCIPAL PART{ES (Piace an "X”in Omz Box_fbi'P{ai`nriII`
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[3 220 Foreclosure l'J 441 Voting Cl 463 .Alieii Dclainee lncome Security Act or Det`cndanl} t'_'| 899 Adminislra\ive Proccdure
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15 U.S.C. Section 1051. et seq.
VI CAUSE ACTION Brief` description of cause: /
Trademark infriggement and breach of contract

 

 

VII. REQUESTED lN
COlV[PLAINT:

13 CHECK IF T.HIS iS A CLASS ACTlON
UNDER RUErE 23, F.R.Cle.

VIII. RELATED CASE(S)

(See r`nsh'id'c‘!ions).'

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APPLYING IE'P

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Case 2:19-cv-00182-CFK Document 1 Filed 01/14/19 Page 24 of 25

 

g IN THE UNITED STATES DISTRICT COURT
L/ FOR THE EASTERN DISTRICT OF PENNSYLVANIA
0 CASE MANAGEM_EN'I` TRACK DESIGNATION FORM

san inn Lee ; CiviL AcrioN

V.
1333 Enterprise, Inc. &

rang s. choi NO, [Q__l B"Z/

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time cf
filing the complaint and serve a copy on all defendants (See § 1 :03 of the plan set forth on the reverse
side of this forrn.) lri the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management T rack Designation Forrn specifying the track
to which that defendant believes the case should be assigned

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus a Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of I-Iealth
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos ( )

(e) Special Management f Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

 

management cases.) )
(f) Standard Managernent ~» Cases at do not fall into any one of the other tracks 6 )
1/14/2019 Steven E. An reich Plaintiff, Han Min Lee
Date Attorney-at-iaw Attorney for
215-665-8181 215-665-8464 sangstreich@weirpartners.com
Te_iephone FAX Number E-Mail Address

(Civ. 660) 10102

 

 

4 Case 2:19-cv-00182-CFK Document 1 Filed 01/14/19 Page 25 of 25
curran srArits nis'rrucr couirr

son THE EAsTsRN Dis'riu€r or PENNSYLVANLA g { @"2/

DESIGNATION FORM
be used by counsel or pro se plaintiff Io indicate !)`re category ofrhe cosefor the purpose ofassigm)iem' to the appropriate calerrda:)
Add[css mr Plaimiff: 1 1 0 Tenaf|y Road, Tenaf|y, NJ 07670

 

Addl_ess Of Defendam: 1333 West Cheltenharn Avenue, Ste. 102, E||<ins Park, PA 19027 f 22 Southwood Drive, Cherry Hi||, NJ 08003

 

1333 West Che|tenham Avenue, Ste. 102, E|kins Park, PA 19027

Place of Accident, lncidcnt or Transaction:

 

 

RELA TED CASE, IF ANY:

   

Case Number: .ludge: _ Date ’l`enninatcd:

 

 

Civil cases arc deemed related when Yes is answered to any of the following questions:

1. ls this case related to property included in an earlier numbered suit pending or within one year Yes |:| o
previously terminated action iri this courl'?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes No
pending or within one year previously terminated action in this couit?

3 Does this case involve the validity or infringement of a ady in suitor any earlier Yes No
numbered case pending or within one year previousl tion of this couit?

4 ls this case a second or successive habeas corpus social security a peal, or pro se civil rights Yes No

case filed by the same individual?

     

1 certify that, to my knowledge the within case is f § is not elated to any case now pending or within one year previously terminate cti n in

this court except as noted above

 
 

 

 

DATE_ 01/14/2019 1 ~,€ 3739
\ W Aiio'r'ney-ar-l{é)/Pw Se P[ai`n 1113r kimmch I.D. # (r'fappi'i'M~e)
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CI`/Hl: (Ph\€€ 2 V ill DBC Cat€g(|l‘]¢' Ullly) \__ ' ’ {" {" '
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5 . _i- l_
Dn’ersity .Iurls ctlon Cases.'

 

 

 

 

 

A. F ederal Quesriorr Cases.' B.
[:l 1 Indemnity Contract, Marinc Contract, and All Other Contracts I:I 1 Insurance Contract and Other Contracts
t:| 2 FELA [:] 2 Airpun@ rational injury
|:1 3 Jones Act-Personal Injury ij 3 Assault, Defamation
[:\ 4 Antitrust ‘ m 4 Marine Personal ln_iury

5 Paterit |:] 5 Motor Vehicle Personal injury
§ 6 Labor~Managcrrient Relations [] 6 Other Personal Injury (Piease specrj§»):
l:l 7 Civil Rights g 7 Products Liability
|:| 8 Habeas Corpus |:f 8 Products Liability f Asbestos

9. Securities Act(s) Cases l:] 9. All other Diversity Cases
E 10. Social Security Review Cases (Plea.re spec;'/_'y):
1 i. All other Fedcral Question Cases

(Pi'ea.re rpecify).' limth AC{
ARBITRATION CERT]FICA'[`ION
(The effect of this cer'!i`ji`cati'on is to remove the caseji'om eligibilifyfor crrbi'tr'a!i'on.)

I, Steven E' Angstrelch _, ccunsei of record or pro se plaintiff, do hereby ccrtify: 7l

 

 

Pursuant to Local Civil Rule 53.2, § 3(6) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum ol`$150,000.00 exclusive ofintcrest and costs:

Relief other than monetary damages is sought

01/14/2019 W 3739

DATE: g
Ai‘.'omey-a!~fgw @r'o Se P!m'n!ij` Ai‘foi')rey I.D. # (ifappl`r'cabl'e)

 

 

NOTE: A trial de novo wili be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

ij. 609 (5/20[8)

 

 

